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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                             District
                                                     __________       of Idaho
                                                                District  of __________

   PLANNED PARENTHOOD GREAT NORTHWEST, HAWAII,                           )
    ALASKA, INDIANA, KENTUCKY,on behalf of itself, its staff,            )
 physicians and patients, CAITLIN GUSTAFSON, M.D., on behalf
 of herself and her patients, and DARIN L. WEYHRICH, M.D., on
                                                                         )
                 behalf of himself and his patients,                     )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                              Civil Action No. 1:23-cv-000142-DKG
                                                                         )
RAÚL LABRADOR, in his official capacity as Attorney General of           )
 the State of Idaho; MEMBERS OF THE IDAHO STATE BOARD
OF MEDICINE and IDAHO STATE BOARD OF NURSING, in their
                                                                         )
  official capacities, COUNTY PROSECUTING ATTORNEYS, in                  )
                        their official capacities,                       )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Raul R. Labrador
                                           Office of the Attorney General State of Idaho
                                           700 W. Jefferson St.
                                           P.O. Box 83720
                                           Boise, ID 83720-0010



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Colleen R. Smith (ISB No. 10023)
                                           Stris & Maher LLP
                                           American Civil Liberties Union of Idaho Foundation Cooperating Attorney
                                           1717 K Street NW, Suite 900
                                           Washington, DC 20006
                                           T: 202-800-5749
                                           csmith@stris.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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                                                                                   CLERK OF COURT  
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Date: 4/6/2023                                                                                         Laura McInnes
                                                                                               Signature
                                                                                                  on Aprof06,
                                                                                                           Clerk or 9:49
                                                                                                              2023  Deputy
                                                                                                                         amClerk
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